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Prob 12(10/09)
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                            Paul AUNITED STATES DISTRICT COUI                              JN 1 2 2018                 t!)
                                                   for the
                                 EASTERN DISTRICT OF VIRGINIA                        CL ERK. U.S. DISTRICT COURT
                                                                                         ALEXANDRIA VIRGINIA



U.S.A. vs. Zulevma B. Barahona                                Docket No. 1:17P0126S


                                             Petition on Probation

        COMES NOW Eva M. Wall. PROBATION OFFICER OF THE COURT, presenting an official report
upon the conduct and attitude of Zulevma B. Barahona. who was placed on supervision by the Honorable John
F. Anderson, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the 20th day of
July. 2017. who fixed the period of supervision at six (6) months, and imposed the generalterms and conditions
heretofore adopted by the Court and also imposed special conditions and terms as follows: 1) the defendant
shall participate in and successfully complete an Alcohol Safety Action Program or other alcohol treatment
program as deemed appropriate by the probation office; 2) commencing July 20,2017, and continuing for six
(6) months,the defendantmay not operate a motor vehicleanywhere in the United Statesexcept (a) to and from
work, as incident to or required by work, (b) to and from court, the probation office, and the alcohol treatment
program, (c) may drive for child care purposes, including after school activities pre-approved by the probation
officer; 3) shall pay a $250.00fine, $30.00 processing fee, and a $10.00 special assessment as to 7194457 to be
paid by August 20,2017.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                See Attacbment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.


Returnable date;



                 ORDER OF COURT
                                                            I declare under the penalty of perjury that the
Considered and ordered this                  day of         foregoing is true and correct.
January, 2018 and ordered filed and made a part of
the records in the above case.                              Executed on:


                                                             |3% / 3 \ A/ 311         Digitally signed by Eva Wall
                                                             C Vd V V Cl 11           Date:2018.01.121SK)2.O5-0S'00'

                     ./s/                                   Eva M. Wall
       John F. Anderson
                                                            U.S. Probation Officer
       United States Magistrate Judge
                                                            703-299-2363


                   John F. Anderson                         Place: Alexandria, Virginia
             United States MagistrateJudge




TO CLERK'S OFFICE
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Petition on Probation
Page 2
RE: Barahona, Zuleyma B..

OFFENSE: Reckless Driving.

SENTENCE: Six (6) months supervised probation with the special conditions listed on page 1.

ADJUSTMENT TO SUPERVISION: On July 25,2017, Ms. Barahona was referred (by this office) to Fairfax
County Alcohol Safety Action Program (ASAP). On August30, 2017, she reported to this office and advised
she had enrolled in ASAP the previous week and was scheduled to meet with someone at the Multicultural
Center.


On September 1,2017, Your Honor approved the waiverof home visits, monthly reports, and travel restrictions
initiated by this Officeras she appeared to be in compliance with her probation.

On December 28,2017, Fairfax ASAP reported Ms. Barahona advised that agency that she could not complete
the class cycle she had been assigned to and would now have to start over with another class. The case manager
assignedto her case attempted to contacther but her voice mailbox was full.

On January 2,2018, this ofHcer instructed(via text) Ms. Barahonato report to this office on January 8,2018, so
that we could discuss her situation. Ms. Barahona did respond "ok." Unfortunately this appointment had to be
rescheduled and another text was sent to her instructing her to report on January 11,2018. Ms. Barahona did
not respond, and did not report to this office on either January 8 or January 11, 2018. Attempts to contact her
via telephone have been unsuccessful as her voice mailbox is Aill.

VIOLATIONS: The followingviolations are submittedfor the Court's consideration.


SPECIAL CONDITION;                           FAIL TO SUCCESSFULLY COMPLETE ASAP.

Although enrolling with Fairfax ASAP, Ms. Barahona has failed to successfully complete requirementsoutlined
by that agency.



EMW/mbp
PTA




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